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                                                                       Page 84
         1                            C. LELEUX
         2           7, the order that I'm presenting them
         3           to you is the order in which these
         4           documents were provided to the
         5           government by Chase.        I didn't put
         6           the order together, and you should be
         7           able to see that with the number on
         8           the bottom of each page of this
         9           exhibit starting with SB.         No, sorry.
       10            The number on the bottom right.           See
       11            where it says 132 on the last page?
       12            That's the page numbers that were
       13            provided to us by Chase.         That's just
       14            an FYI.     Amy, you can take that down.
       15            (So doing.)
       16           Q.   Mr. Leleux, I'm just going to change
       17      up topics, okay?
       18           A.   Yes, sir.
       19           Q.   I'm going to ask about a time period
       20      from December of 2020 to the beginning of
       21      July '21, okay?
       22           A.   Yes, sir.
       23           Q.   I'm going to ask about the marketing
       24      of the FRT-15, okay?
       25           A.   Okay.


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         1                                C. LELEUX
         2            Q.    And the FRT-15 is the Forced Reset
         3     Trigger that RBT was selling, right?
         4            A.    That Rare Breed Triggers was
         5     selling, yes, sir.
         6            Q.    In the public marketing of the
         7     FRT-15, was there any mention of the FRT
         8     being submitted to the ATF for
         9     classification?
       10             A.     No, sir.
       11             Q.     Was there any mention during that
       12      time period in marketing for the FRT-15 of
       13      the AR-1?
       14             A.     In the beginning, I don't know that
       15      anyone at RBT really knew what the AR-1
       16      really fully was, so it absolutely was not
       17      mentioned.        And again, it was -- and I just
       18      want to make sure you are okay with this, but
       19      I don't want to answer a yes or a no where I
       20      feel like it's leaving out of context.
       21             Q.     Please do.     Go ahead.
       22             A.     The answer is no, we didn't mention
       23      the AR-1.       But, A, in the beginning, I don't
       24      think any of us really knew what the AR-1
       25      was.        And, B, once we found out what it was,


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         1                            C. LELEUX
         2     it was different and worked differently and
         3     functioned differently and wasn't relevant to
         4     what we were doing.
         5          Q.   Let me ask you about that.          How do
         6     you think the AR-1 is different?
         7          A.   It's different for patent purposes
         8     because the trigger makes direct rigid
         9     mechanical contact with the bolt carrier.
       10      And instead of on the FRT-15, the bolt
       11      carrier makes contact with the hammer, which
       12      then makes contact with the trigger.            And
       13      that's, again, kind of a nuance difference,
       14      but then think about the 3MR where it's bolt
       15      carrier to hammer to the little arm that
       16      flies up to trigger.        So the 3MR is,
       17      essentially -- that portion of it, the same
       18      things are happening, but it's different.               So
       19      that's one difference.        And then the other
       20      primary difference is that the FRT-15 had a
       21      locking bar, which prevented the possibility
       22      of hammer follow.       And let me clarify.        It
       23      doesn't preclude hammer follow, what it
       24      precludes is hammer follow that could result
       25      in automatic fire.       Because you can get


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         1                            C. LELEUX
         2     hammer follow with an FRT-15, but it's only
         3     because there is not enough gas to cycle the
         4     gun, so it didn't force the reset.            And the
         5     hammer follows, but it can only result in a
         6     failure, it can't result in automatic fire.
         7     And that's what I meant earlier when I said
         8     hammer follow, if properly timed, could
         9     result in automatic fire as to where once you
       10      have that locking bar, there is no way for it
       11      to be properly timed and accidentally result
       12      in the automatic fire, it's not possible.
       13           Q.   Any other differences between the
       14      AR-1 and the FRT-15 in your view?
       15           A.   I mean, I think I told you before.
       16      To accomplish the idea of the bolt making
       17      direct rigid mechanical contact with the
       18      trigger itself, it required a modified bolt
       19      and a few different parts.         But again, I've
       20      never actually looked at the AR-1 in-person.
       21      I've only seen now the pictures and stuff
       22      that were submitted in the administrative
       23      record in the case in Florida.          So I have
       24      seen the pictures of it.         It looks like a
       25      welded together mess, but my understanding of


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         1                            C. LELEUX
         2     the mechanics mostly come from the
         3     intellectual property lawsuit stuff.
         4          Q.   The next set of questions I'm not
         5     limiting it to timeframe, so you may answer
         6     the question in a way that suggests that
         7     things changed over time.         What was Rare
         8     Breed Triggers' policy for refunds with
         9     respect to the FRT-15?
       10           A.   Okay.    So all of the questions about
       11      Rare Breed Triggers -- and if you want me to
       12      keep repeating this every time, I will, but I
       13      am going to tell you my understanding of it
       14      as a consultant.       And I, obviously, was
       15      involved quite a bit in conversations, but I
       16      didn't necessarily hit go on the final thing.
       17      So I don't have the final verbiage a hundred
       18      percent, but I will give you my
       19      understanding.
       20           Q.   Yes, and I will accept that.          We
       21      will accept all of that.         And if you need to
       22      make any further limitations or caveats in
       23      any particular questions, please do, okay?
       24           A.   Okay.    So my understanding of the
       25      refund policy from day one was there are no


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